
In re Goodyear Tire and Rubber Company — Defendants; applying for writ of certio-rari and/or review; Parish of Orleans, Civil *480District Court, Div. “H”, Nos. 86-13114, 86-14820, 86-19381, 86-21164, 86-21753, 86-22510, 87-220, 87-3135 and 87-7316; Parish of Orleans, Court of Appeal, Fourth Circuit, Nos. 91CA-1664, 92CA-1001, 93CA-0591, 93CA-0592, 93CA-0593, 93CA-0594, 93CA-0595, 93CA-0596, 93CA-0597.
Denied.
DENNIS and WATSON, JJ., would grant the writ.
ORTIQUE, J., not on panel; recused.
